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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                       CASE NO.: 3:20-cr-86-TJC-JBT

JORGE PEREZ, et al.


                        SUPPLEMENT TO COURT ORDER

      On September 8, 2021, the Court granted United HealthCare, Inc., Blue

Cross Blue Shield of Georgia, Inc., RightCHOICE Managed Care, Inc., Blue Cross

Blue Shield of Florida, Inc., and Aetna, Inc.’s (collectively “Non-Party Payors”),

Motion for Entry of Amended Protective Order (“Order”) (Doc. 402). Through

oversight, the Court neglected to name United HealthCare, Inc. (“United”) as a

Non-Party Payor in the text of the Order. However, the Court intended to include

United as a Non-Party Payor and now clarifies that the Order is meant to fully apply

to United as well as the other Non-Party Payors.1

      DONE AND ORDERED in Jacksonville, Florida, on September 9, 2021.




Copies to:

Counsel of Record

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        In addition, by its terms, the Amended Protective Order applies to all parties and
non-parties. (Doc. 403.)
